         Case 1:14-cv-00365-LMM Document 75 Filed 03/01/16 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 VICTOR M. BROWN,
                      Plaintiff,                      CIVIL ACTION FILE
 vs.                                                  NO. 1:14-cv-365-LMM
 GEORGIA LOTTERY CORPORATION,
                      Defendant.

                                     JUDGMENT

       This action having come before the Court, Honorable Leigh Martin May, United

States District Judge, for consideration of the Magistrate Judge's Report and

Recommendation as to Defendant’s Motion for Summary Judgment, and the Court having

adopted said recommendation and granted said motion, it is

       Ordered and Adjudged that the plaintiff take nothing; that the defendant recover

their costs of this action, and the action be, and the same hereby, is dismissed. Plaintiff’s

federal law claims are dismissed with prejudice and his state law claims are dismissed

without prejudice.

       Dated at Atlanta, Georgia, this 1st day of March, 2016.

                                                         JAMES N. HATTEN
                                                         CLERK OF COURT


                                                   By: s/ Denise D.M. McGoldrick
                                                       Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
  March 1, 2016
James N. Hatten
Clerk of Court

By: s/Denise D.M. McGoldrick
      Deputy Clerk
